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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


 LI FEN YAO, as Administrator of the Estate of Sam
 Mingsan Chen,

                           Plaintiff,                         Civil Action No. TDC-23-0889

                           -v-

 ROBERT CHEN; OTTER AUDITS LLC; and
 RC SECURITY LLC,

                           Defendants.


                        DECLARATION OF DAVID CHEN
              IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
               COMPLAINT FOR LACK OF PERSONAL JURISDICTION

       DAVID CHEN, hereby declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

as follows:

       1.      I was born on March 11, 2005. I am presently eighteen years old and live in

Rockville, Maryland with my mother, Li Fen Yao. I graduated from Thomas S. Wootton High

School in Rockville, Maryland in May 2023.

       2.      My father, Sam Mingsan Chen, was a co-owner of OtterSec LLC (“OtterSec”).

He passed away in a car accident on July 13, 2022, and my mother was appointed as the

representative of my father’s estate (the “Estate”) on January 27, 2023. A true and correct copy

of the Letters of Administration issued to my mother on January 27, 2023, by the Register of

Wills for Montgomery County, Maryland is attached as Exhibit A.

       3.      Prior to and at the time of my father’s passing, my mother, father and I lived

together at 13717 Travilah Road in Rockville, Maryland. We have lived there since I was

approximately five old.




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   A. OtterSec LLC

       4.      OtterSec was formed under Wyoming law on February 8, 2022, and it was

dissolved on October 6, 2022. True and correct copies of OtterSec’s Articles of Organization

and Articles of Dissolution are attached as Exhibits B and C, respectively.

       5.      Prior to its dissolution, OtterSec was engaged in the business of performing

security audits of software code used by companies operating on the blockchain. The idea for

the company came about in early 2022, through my relationship with Defendant Robert Chen

(“Robert” or “Robert Chen”).

       6.      I met Robert in 2019, while competing in a cybersecurity competition that

Robert helped organize. We were on different teams at the time, but my cybersecurity team

eventually partnered with Robert’s team in later competitions. We developed a friendship and

frequently discussed matters related to cybersecurity, software coding, cryptocurrency and

digital asset, oftentimes interspersed with personal matters.

       7.      Robert and I typically communicated using the Discord platform, but sometimes

used Telegram as well. Both platforms allow for direct messaging and voice calling. We used

the messaging and voice calling features of each, but most commonly communicated by direct

messaging using Discord.

       8.      Robert and I first started discussing the business idea that became OtterSec over

Discord on February 4, 2022. Robert expressed his belief that there were business opportunities

in the cybersecurity space for auditing software code and, when I expressed my interest, he

proposed that we start a company together. We moved quickly, agreeing on the name

“OtterSec,” developing a plan to market our services to potential clients, setting up a website

(https://osec.io), choosing a logo, and creating email and social media accounts for the

company in a matter of days.




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       9.      On or about February 7, 2022, Robert and I discussed taking steps to form

OtterSec as a legal entity. Robert suggested forming OtterSec as a limited liability company in

Wyoming, and selected Wyoming because he had once helped form an entity in Wyoming for

a cybersecurity team and was familiar with how to do so. I agreed and sent him money for the

formation costs.

       10.     OtterSec was formed the next day, on February 8, 2022. See Ex. B. I knew that

Robert lived in Washington, and Robert knew that I was a minor, in high school, and lived with

my parents in Maryland. I am not aware of OtterSec ever having any office, operations,

employees or consultants in Wyoming.

       11.     On February 11, 2022, Robert and I were messaging over Discord and

discussing matters related to OtterSec, including the preparation of an operating agreement. In

the course of our discussion, we both acknowledged that my status as a minor was likely to be

problematic both with respect to entering into contracts and dealings with third parties. Robert

suggested, as a work-around, that my parents serve as co-owners of OtterSec instead of me. I

agreed that the idea made sense. Neither of us expected that they would play any active role

in the business except as owners. In fact, we specifically agreed that I would act for my parents’

interest as their “proxy” with respect to OtterSec. Our exchange over Discord appears below

(Robert’s screen name is “NotDeGhost” and mine is “ra”).




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       12.    The following is a true and accurate transcription of the relevant portions of the

preceding Discord messages:

ra:
       I can sign, its just that the agreements can’t bind me to do anything
       I can’t take money or anything but I can back out if it requires me to do
…

NotDeGhost:
     No like
     companies won’t work with u
     cause of legal risk

ra:
       oh I see
       pepega




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NotDeGhost:
     Yeah hm
     Im not rly sure how to get around that
     mby we can transfer ur stake to ur parents? (edited)
     and then have them transfer back legally
     when ur 18
     or I can ask the accountant for advice

ra:
         yeah I guess
         holding in trust or whatever
         and I act thru them as a proxy
         so they sign for the company stuff
         and I have them sign a contract w/me that basically states that the company decisions
         are determined by me + they transfer to me when I turn 18 (edited)

NotDeGhost:
     yeah I mean
     hopefully u trust ur parents enough
     that u don’t need a formal contract for that

         13.    While Robert and I were having this discussion, I was also discussing it with

my parents. My father agreed to the proposal, and I told Robert that my father (and not my

mother) would be the co-owner of OtterSec. Robert needed my father to immediately fill out

some on-line forms for OtterSec and I was serving as the go-between for my father and Robert,

relaying to my father what needed to be done and then relaying back to Robert (over Discord)

when my father was done.

         14.     On February 13, 2022, Robert prepared an operating agreement for OtterSec,

which formally documented the 50/50 ownership structure as between Robert and my father.

Again, I served as the go-between for Robert and my father, providing Robert with our mailing

address in Rockville for the operating agreement and then arranging for my father to sign the

operating agreement on February 14, 2022, after Robert sent it to me. A true and correct copy

of the operating agreement as signed is attached as Exhibit D.

      B. Banking and Financial Operations

         15.    Robert asked me to take responsibility for handling OtterSec’s money, the

majority of which was maintained in (a) a hardware Ledger wallet that was used for

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cryptocurrency transactions on the blockchain, and (b) an account maintained with the now-

defunct cryptocurrency exchange FTX Trading Ltd. (“FTX”). Neither could be used or

accessed except from my home in Rockville, Maryland.

       16.     A hardware Ledger wallet is a type of cryptocurrency wallet used to send and

receive cryptocurrency on the blockchain. Like other cryptocurrency wallets, it has public and

private “keys,” which are alphanumeric codes used to send, receive, store and access

cryptocurrency. A public key functions much like a bank account number, in the sense that it

may be shared with others to use for sending cryptocurrency to the owner of the wallet. A

private key functions much like a password, in the sense that it is kept private and is necessary

to access the contents of the wallet. A person who holds the private key has full access to and

control of the wallet; a person who does not have the private key has no access to or control of

the wallet.

       17.     Unlike cryptocurrency wallets that are found online (or in an application on a

phone or desktop), a hardware Ledger wallet is a physical device that exists in an environment

separated from an internet connection, for better security. It stores the private key on the

physical device and must be physically connected to an interface (e.g., a computer) to send or

receive cryptocurrency and access the wallet.

       18.     I maintained OtterSec’s hardware Ledger wallet in my home in Rockville,

Maryland. Robert did not have the hardware Ledger wallet or the private key associated with

the hardware Ledger wallet (because it was stored on a computer chip in the physical device).

       19.     Similarly, access to OtterSec’s FTX account was protected by multi-factor

authentication, requiring both a passcode and a hardware security key. Like a hardware Ledger

wallet, a hardware security key is a physical device that must be connected to an interface to

gain access to the account. OtterSec used a hardware security key known as a “YubiKey” for




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the FTX account, which I maintained in my home in Rockville, Maryland. Robert did not have

a YubiKey or the passcode to the FTX account.

   C. Borrowing and Revenue

       20.      OtterSec borrowed $292,870.14 from me on or about February 26, 2022, to help

fund its operations. The majority of the loan was repaid to me by OtterSec in two installments,

on April 13 and April 27, 2022.

       21.      In addition, during the period of February-April 2022, OtterSec generated

approximately $925,000 in revenue from auditing work. I worked on one-half of the audits

during that period, from my home in Rockville. The audits that I worked on were responsible

for $625,000 (approximately 67.5%) of the total auditing revenue generated by OtterSec during

that period.

   D. Employees and Consultants

       22.      I was not the only person who worked for OtterSec in Maryland.

       23.      OtterSec had at least three other employees or consultants located in Maryland.

Each signed an employment or consulting agreement indicating his name and address, and

Robert counter-signed for OtterSec:

             a. Harikesh Kailad, 5304 Bangor Drive, Kensington MD;

             b. Andrei Kotliarov, 13972 Saddleview Drive, North Potomac MD; and

             c. William Wang, 9706 Watts Branch Dr, Rockville, MD.

True and correct copies of their employment or consulting agreements are attached as Exhibits

E, F, and G, respectively.

       24.      William Wang is referenced in the Complaint filed in this case, because Robert

was secretly negotiating to bring Mr. Wang with him to a firm named Jump Trading in April

2022, while Robert was a member of OtterSec and Mr. Wang was still under contract with




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OtterSec. Compl., ¶¶ 55-64. Mr. Wang appears to have joined Robert at his new companies,

Defendants Otter Audits LLC and RC Security LLC.

       25.     Indeed, as detailed in the Complaint, Defendants Otter Audits LLC and RC

Security LLC are utilizing OtterSec’s former website (https://osec.io). On that website is a

section listing all audits (including OtterSec audits) from February 16, 2022 through October

6, 2023. The report for one of the listed audits, for a company named Ellipsis Labs, identifies

Mr. Wang as one of the auditors and the company responsible for the audit as “OtterSec.” The

audit report is dated February 8, 2023, which over four months after Robert dissolved OtterSec.

True and correct copy of the Ellipsis Labs audit report is attached as Exhibit H.

       26.     I have reviewed other audit reports available on the website, as well as other

publicly available information, and it appears that there may be at least eight other former

OtterSec employees or consultants working for the Defendants: Ajay Kunapareddy,

Aleksandre Khokhiashvili, Christian Cuffari, Daryl Yeo, Harrison Green, Alec Petridis, Akash

Gurugunti, and Shiva Shankar.

   E. Computer Server

       27.     OtterSec utilized a computer server I built from spare parts, located in my home

in Rockville, Maryland. Robert and other OtterSec employees or consultants were granted

access to the server, and regularly logged into and accessed it for executing code and

performing auditing work.

       28.     Robert knew that the server was located in my home. For example, on January

13, 2022, I sent a message to Robert showing him pictures of parts I ordered. Robert responded,

asked if it was going in my basement, and I told him that it was (I later moved it to a different

room in my house):




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       29.    On January 21, 2022, after I assembled the server, I sent another message to

Robert letting him know it would be functional soon:




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   F. Communications

       30.    The Complaint filed in this case details just a few of the many communications

between me and Robert that took place between the date OtterSec was formed (February 8,

2022) and the date it was dissolved (October 6, 2022).

       31.    For context, utilizing a feature on Discord, I was able to determine that Robert

and I exchanged, over that platform alone, a total of 18,543 messages during that period. Of

those, 8,088 were messages sent by me to Robert and 10,455 were messages sent by Robert to

me. The vast majority of those messages related to OtterSec, and many are cited in the

Complaint. They include Robert’s statement to me on May 10, 2022, that he was going to

“dissolve the company and remake it”:




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       32.     The following is a true and accurate transcription of the relevant portion of the

preceding Discord messages:

…

NotDeGhost:

       would you be open to considering selling your share of the company?
       if not, I’ll probably dissolve the company and remake it
       but it’ll be a lot messier and there’s no need to burn bridges like that

    G. Lack of Transparency

       33.     I am aware from having read Robert’s filings in this case that he is claiming to

have paid for OtterSec’s assets. He has never previously disclosed that to my family, and we

have been provided with no information from Robert whatsoever regarding any of the details

of the dissolution of OtterSec or the disposition of its assets. He has never disclosed how much

he paid, what he purchased or how he arrived at a purchase price.

       34.     Although I transitioned responsibility for handling OtterSec’s money to Robert

when I ceased working for the company, having been responsible for handling OtterSec’s

money for a period of time I am aware that it was very profitable. Based on the audits posted

on its website the company appears to be experiencing continued success. Nevertheless, the

Estate has not received any distribution of any funds from OtterSec.

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       35.        In fact, my family has received no financial information from Robert

concerning OtterSec at all. We have not even received forms K-1 or 1099 for our 2022 tax

returns.



           I hereby declare under penalty of perjury that the foregoing is true and correct.



Executed on: November 6, 2023
                                                         David Chen
